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                         GENERAL ORDER

      Federal Rule of Civil Procedure 26(f) requires the parties to

confer, develop a proposed discovery plan, and submit a report to this

Court. Subsequent to the filing of the report, a Scheduling Order

must be entered pursuant to Fed. R. Civ. P. 16(b). Therefore, by the

earlierof 21 days after the filing of the last answer of the defendants

named in the original complaint or 45 days after the first appearance

by answer or motion under Fed. R. Civ. P. 12 of a defendant named in

the original complaint, the parties shall confer as provided in Rule

26(f). L.R. 26.1(a). Thereafter, within 14 days after the required

conference held pursuant to Rule 26(f), the parties shall submit to the

Court a written report conforming to the language and format of the

Rule 26(f) Report attached to this Order outlining their discovery

plan. L.R. 26.1(b).
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       Except in unusually protracted or complex cases, the parties will be

expected to adhere to the following deadlines and limitations:

             The parties shall serve all written discovery on opposing
             parties and shall complete all depositions within 140 days of
             the filing of the last answer of the defendants named in the
             original complaint. L.R. 26.1(d)(i).

       2.    The plaintiff must furnish the expert witness reports and
             disclosures required by Rule 26(a)(2) within 60 days after the
             Rule 26(f) conference. L.R. 26.1(d)(ii).

       3.    The defendant must furnish the expert witness reports and
             disclosures required by Rule 26(a)(2) within 90 days after the
             Rule 26(f) conference (or 60 days after the last answer,
             whichever is later). L.R. 26.1(d)(iii).

      4.     The last day for filing motions to add or join parties or
             amend the pleadings is 60 days after the first answer of the
             defendants named in the original complaint. L.R. 16.3.

      5.     The last day for filing all other motions, including Daubert
             motions but excluding motions in limine, is 30 days after the
             close of discovery. L.R. 7.4.

Plaintiff's counsel shall ensure that a copy of this Order is served upon each

party. Finally, a party who cannot gain the cooperation of the other party

in preparing the Rule 26(f) report should advise the Court prior to the due

date of the report of the other party's failure to cooperate.

        SO ORDERED.


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                                                                        JUDGE
                                                SOUI1IERNDIS11UC of GEORGIA




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C




                   UNITED STATES DISTRICT COURT
                   SOUTHERN DISTRICT OF GEORGIA
                                   DIVISION



                     Plaintiff

    V.                                      Case No.



                     Defendant

                            RULE 26(f) REPORT

    1    Date of Rule 26(f) conference:

    2.   Parties or counsel who participated in conference:




    3.   If any defendant has yet to be served, please identify the defendant
         and state when service is expected.



    4.   Date the Rule 26(a)(1) disclosures were made or will be made:



    5.   If any party objects to making the initial disclosures required by
         Rule 26(a)(1) or proposes changes to the timing or form of those
         disclosures,
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     (a)   Identify the party or parties making the objection or proposal:




     (b)   Specify the objection or proposal:




6. The Local Rules provide a 140-day period for discovery. If any
     party is requesting additional time for discovery,

     (a)   Identify the party or parties requesting additional time:




     (b)   State the number of months the parties are requesting for
           discovery:

                                                              months

     (c)   Identify the reason(s) for requesting additional time for
           discovery:

                 Unusually large number of parties

                 Unusually large number of claims or defenses

                 Unusually large number of witnesses

                 Exceptionally complex factual issues

                 Need for discovery outside the United States
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                 Other:

     (d) Please provide a brief statement in support of each of the
           reasons identified above:




     If any party is requesting that discovery be limited to particular
     issues or conducted in phases, please

     (a)   Identify the party or parties requesting such limits:




     (b)   State the nature of any proposed limits:




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     The Local Rules provide, and the Court generally imposes, the
     following deadlines:

     Last day for filing motions to add       60 days after issue is joined
     or join parties or amend pleadings

     Last day to furnish expert witness       60 days after Ru1e26(f)
     reports and disclosures by plaintiff     conference
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     Last day to furnish expert witness           90 days after Rule 26(f)
     reports and disclosures by defendant         conference (or 60 days
                                                  after the answer, whichever
                                                  is later)

     Last day to ifie motions                     30 days after close of
                                                  discovery

     If any party requests a modification of any of these deadlines,

     (a)   Identify the party or parties requesting the modification:




     (b)   State which deadline should be modified and the reason
           supporting the request:




9.   If the case involves electronic discovery,

     (a) State whether the parties have reached an agreement
           regá?ling the preservation, dië1osudiOvèTäf
           electronically stored information, and if the parties prefer to
           have their agreement memorialized in the scheduling order,
           briefly describe the terms of their agreement:




     (b) Identify any issues regarding electronically stored
           information as to which the parties have been unable to reach
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           an agreement:




10. If the case is known to involve claims of privilege or protection of
      trial preparation material,

     (a)   State whether the parties have reached an agreement
           regarding the procedures for asserting claims of privilege or
           protection after production of either electronic or other
           discovery material:




     (b)   Briefly describe the terms of any agreement the parties wish
           to have memorialized in the scheduling order (or attach any
           separate proposed order which the parties are requesting the
           Court to enter addressing such matters):




     (c)   Identify any issues regarding claims of privilege or protection
           as to which the parties have been unable to reach an
           agreement:




11. State any other matters the Court should include in its scheduling
     order:
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12. The parties certify by their signatures below that they have
     discussed the nature and basis of their claims and defenses and the
     possibilities for prompt settlement or resolution of the case. Please
     state any specific problems that have created a hindrance to the
     settlement of the case:




     This          day of                  7 20—.

                      Signed:
                                                    Attorney for Plaintiff


                                                    Attorney for Defendant
